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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

       KIRBY WARD                                                      PLAINTIFF

       v.                          No. 4:20-cv-347-DPM

       LUCAS EMBERTON, in his individual
       capacity, and GENE EARNHART, in his
       individual capacity                                         DEFENDANTS

                                       JUDGMENT
            1.       Kirby Ward shall have judgment against Lucas Emberton,
       1n his individual capacity, and Gene Earnhart, in his individual
       capacity, jointly and severally, for $400.
            2.       Ward shall also have judgment against Officer Emberton
       and Chief Earnhart, jointly and severally, for a reasonable attorney's
       fee and costs as allowed by law. Any motion for fees and costs due by
       30 October 2023.
            3.       Counts five and six of Ward's amended complaint are
       dismissed with prejudice.
            4.       This Judgment shall bear interest at a rate of 5.46% until
       paid in full. 28 U.S.C. § 1961(a)-(b).
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So Ordered.



                                                    v
                                   D .P. Marshall Jr.
                                   United States District Judge




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